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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

        v.
                                                        Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,                                Honorable Deborah L. Boardman

                Defendants.




  PLAINTIFFS’ UNOPPOSED MOTION TO PROVIDE REMOTE PUBLIC ACCESS TO
          COURTROOM AUDIO FOR THE FEBRUARY 5, 2025 HEARING

       Plaintiffs request that the Court authorize and provide for remote access to a live audio feed

of the hearing on Plaintiffs’ motion for a temporary restraining order and preliminary injunction,

to be held on February 5, 2025. The motion for preliminary relief, and this lawsuit more generally,

challenges the constitutionality of President Trump’s Executive Order entitled “Protecting the

Meaning and Value of American Citizenship.” Plaintiffs are two associations with thousands of

members whose future children may be covered by the Executive Order, as well as several

pregnant women who fear for their unborn children’s futures.

       Under this Court’s local rules, “no court proceeding may be photographed, video recorded,

audio recorded, broadcast, televised, or otherwise transmitted,” “[u]nless otherwise ordered by the

Chief Judge.” D. Md. Local Rule 506. There are good reasons for such an order here. During the

COVID-19 public health emergency, courts, including this Court, leveraged technology to allow


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greater remote access to court proceedings for both parties and members of the public. 1 Other

courts, such as the United States District Court for the District of Columbia, continue to provide

regular live audio access to civil proceedings. 2

       In 2023, following a pilot program that demonstrated that “there were limited technical or

administrative challenges related to livestreaming or making streamed recordings available

publicly,” 3 the Judicial Conference of the United States amended its policy to endorse live audio

streaming of civil matters in circumstances like that present here. Judicial Conference of the United

States, Guide to Judicial Policy § 420. 4 Under the revised policy, “a judge presiding over a civil

or bankruptcy non-trial proceeding may, in the judge’s discretion, authorize live remote public

audio access to any portion of that proceeding in which a witness is not testifying.” Id. When

allowing broadcast of court proceedings, the Court should ensure that the broadcast will:

       (1) be consistent with the rights of the parties;
       (2) not unduly distract participants in the proceeding;
       (3) include measures, consistent with the parties’ responsibilities, to safeguard
       confidential, sensitive, or otherwise protected information; and
       (4) not otherwise interfere with the administration of justice.



1
  E.g., National Center for State Courts, The Use of Remote Hearings in Texas State Courts: The
Impact on Judicial Workload: Final Report ii, 9–11 (Dec. 2021), https://perma.cc/V87P-BXDD
(finding “definite benefits for expanding access to justice for many litigants” including “Remote
hearings may also expand access to courts for witnesses, victims, experts, and other court
stakeholders who live in remote locations or who fear for their safety in court.”); Honorable
Samuel A. Thumma et al., Post-pandemic Recommendations: COVID-19 Continuity of Court
Operations During a Public Health Emergency Workgroup, 75 SMU L. Rev. F. 1, 13 (2022),
https://scholar.smu.edu/cgi/viewcontent.cgi?article=1039&context=smulrforum.
2
  See United States District Court for the District of Columbia, Public Access Teleconference
Information, https://www.dcd.uscourts.gov/public-access-teleconference-information.
3
  U.S. Courts, History of Cameras, Broadcasting, and Remote Public Access in Courts,
https://www.uscourts.gov/court-records/access-court-proceedings/remote-public-access-
proceedings/history-cameras-broadcasting-and-remote-public-access-courts,
4
  Available at https://www.uscourts.gov/sites/default/files/2024-12/guide-vol10-ch04.pdf
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Id. “While the policy conclusions of the Judicial Conference may not be binding on the lower

courts, they are ‘at the very least entitled to respectful consideration.’” Hollingsworth v. Perry,

558 U.S. 183, 193 (2010).

       Plaintiffs ask the Court, in coordination with the Chief Judge pursuant to the District’s

Local Rules, to exercise its discretion to allow remote audio access for the argument to be held on

February 5, 2025. This is a civil case, and no witness will testify at the hearing. Far from

jeopardizing any litigants’ rights, providing remote access will allow many of the hundreds of

thousands of members of CASA and ASAP—as well as the individual plaintiffs—to hear

arguments that significantly affect their and their families’ lives. Indeed, remote access is

particularly vital for the litigants in this case. Because CASA and ASAP members are spread across

the country, it is impracticable for many of them to travel for the hearing. Travel will be especially

difficult, if not impossible, 5 for the pregnant members expecting to give birth over the coming

weeks. Even those located within traveling distance may not feel safe visiting the Courthouse in

person in light of Immigration and Customs Enforcement’s (ICE’s) January 21, 2025 Directive,

which allows ICE agents to take immigration enforcement actions “in or near” courthouses. 6

       Moreover, the public at large has an interest in these proceedings. President Trump himself

described the Executive Order as “a big one,” and both the Executive Order and lawsuits

challenging it (including this one) have generated significant media coverage. The public’s right

to access court proceedings is especially heightened in a case of significant public importance like


5
  Barbara Woolsey, Here are 14 major airlines’ policies for flying pregnant, USA Today (Aug.
8, 2015), https://www.usatoday.com/story/travel/roadwarriorvoices/2015/08/08/here-are-14-
major-airlines-policies-for-flying-pregnant/83846106/.
6
  Immigration and Customs Enforcement, Protected Areas and Courthouse Arrests (last accessed
Jan. 28, 2025), https://perma.cc/4KM3-HYV5.
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this, and allowing remote audio access will facilitate the public’s interest in observing court

proceedings. Cf. Doe v. Pub. Citizen, 749 F.3d 246, 265 (4th Cir. 2014) (“It is well settled that the

public and press have a qualified right of access to judicial documents and records filed in civil

and criminal proceedings.”); Ctr. for Const. Rts. v. Lind, 954 F. Supp. 2d 389, 400 (D. Md. 2013)

(noting that decisions about public access are “best left to the sound discretion of the trial court”

(internal quotation marks omitted)).

       Providing access to live audio will not distract participants in the proceeding, and Plaintiffs

anticipate that there will be no confidential or sensitive information associated with a publicly

identifiable person discussed during the hearing.

       Undersigned counsel contacted counsel for the Defendants who indicated that Defendants

do not oppose the motion.

       For these reasons, Plaintiffs respectfully request that the Court and the Chief Judge exercise

their discretion and provide live audio streaming of the hearing on February 5, 2025.




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Respectfully submitted this January 29, 2025,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 29, 2025, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will serve a copy on all counsel of record.

                                                         /s/ Joseph W. Mead
                                                         Joseph W. Mead
